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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING
                                  CASPER DIVISION

   THE TRIAL LAWYERS COLLEGE, a                  )
   nonprofit corporation                         )
                                                 )      CIVIL ACTION NO. 1:20-cv-0080
   Plaintiff,                                    )
                                                 )      ___________________________
   v.                                            )
                                                 )      JUDGE CARSON
   GERRY SPENCES TRIAL LAWYERS                   )
   COLLEGE AT THUNDERHEAD                        )      MAGISTRATE JUDGE CARMAN
   RANCH, a nonprofit corporation, and           )
   GERALD L. SPENCE, JOHN                        )
   ZELBST, REX PARRIS, JOSEPH H.                 )
   LOW, KENT SPENCE, JOHN JOYCE                  )
   and DANIEL AMBROSE, individuals,              )
   and GERRY SPENCE METHOD AT                    )
   THUNDERHEAD RANCH, INC., a                    )
   nonprofit corporation                         )
                                                 )
   Defendants.


TLC’S MOTION FOR COSTS, EXPENSES, AND ATTORNEYS’ FEES INCURRED AS
     A RESULT OF BETH KUSHNER’S UNREASONABLE AND VEXATIOUS
              MULTIPLICATION OF THESE PROCEEDINGS

        Plaintiff, The Trial Lawyers College (“TLC”), respectfully requests that this Court grant

its motion for costs, expenses, and attorneys’ fees incurred as a result of Beth Kushner’s

unreasonable and vexatious multiplication of these proceedings. For the reasons set forth the

accompanying Memorandum in Support, TLC respectfully requests that in accordance with

28 U.S.C. § 1927, the Court order Ms. Kushner to pay TLC its costs, expenses, and attorneys’ fees.

Specifically, TLC requests that the Court award it attorneys’ fees and costs incurred related to the

issuance of the third-party subpoena requests, the attempts to confer with the third-party subpoena

recipients, the motions to compel the third-party subpoena responses, the deciphering of the

corrupted Amedee production, the repeated briefing of privilege issues, the belated assertion of the


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attorney-client privilege, and the litigation concerning the third-party subpoena issued to Ms.

Kushner.

                                             Respectfully submitted,

                                             THE TRIAL LAWYERS COLLEGE

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                                               ATTORNEYS FOR PLAINTIFF THE TRIAL
                                               LAWYERS COLLEGE AND THIRD PARTY
                                               DEFENDANTS JOHN SLOAN, MILTON
                                               GRIMES, MAREN CHALOUPKA, JAMES
                                               R. CLARY, JR., DANA COLE, AND ANNE
                                               VALENTINE



                     CERTIFICATE OF SERVICE AND CONFERRAL

        I hereby certify that true and correct copy of the foregoing document has been served

  electronically by transmission to an electronic filing service provider for service through the

  Court’s CM/ECF system to all parties on November 5, 2021. I further certify that on November

  3, 2021, counsel for TLC conferred with counsel for Ms. Kushner, regarding the relief sought

  in this Motion, and was advised that Ms. Kushner opposes this Motion.


                                      /s/ Christopher K. Ralston_____________
                                      Christopher K. Ralston




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